 Case 2:14-cv-07366-GW-JEM Document 170 Filed 01/11/21 Page 1 of 1 Page ID #:3107



1
                                                                     JS-6
2

3

4

5

6

7

8
                        UNITED STATES DISTRICT COURT
9
                       CENTRAL DISTRICT OF CALIFORNIA
10

11                                               )
     KARYL CLARKE,                               )    Case No. CV 14-7366-GW (JEM)
12                                               )
                         Plaintiff,              )
13                                               )    JUDGMENT
                  v.                             )
14                                               )
     CITY OF HAWTHORNE, et al.,                  )
15                                               )
                         Defendants.             )
16                                               )
17
           In accordance with the Order Accepting Findings and Recommendations of United
18
     States Magistrate Judge filed concurrently herewith,
19
           IT IS HEREBY ADJUDGED that the action is dismissed with prejudice.
20

21
     DATED: January 11, 2021
22                                                          GEORGE H. WU
                                                     UNITED STATES DISTRICT JUDGE
23

24

25

26

27

28
